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      <\OAO 2458 (CASD) (Rev. 1211 J) Judgment in a Criminal Case
                 Sheet 1
                                                                                                                                        FILED
                                                UNITED STATES DISTRICT COURT                                                     CLeRK . .JS. D STRICT COGRT
                                                                                                                            SOt.;TI-E~N DISTRIC-:- OF Cil.:,;(ORNI:.
                                                    SOUTHERN DISTRICT OF CALIFORNIA                                         Sy                                  DEPUTY


                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                          v.                                        (For Offenses Committed On or After November 1, 1987)

              JOSE EDUARDO DAVALOS-ABUCHARD (2)                                      Case Number: lOCR3173-H
              also known as: Jose Eduardo Davalos-Abuchardo
                       also known as: Julian Davalos                              D Shereen 1. Charlick, Federal Defunders, Inc.
                                                                                     Defendant's Attorney
     REGISTRATION NO. 21639-298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) 2,3, and 6 of the Superseding Indictment.

     D was found guilty on count(s)._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             after a plea of not guilty.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following otrense(s):
                                                                                                                                                 Count
     Title & Section                           Nature of Offense                                                                            Number(s)
18 USC 1951(a)                         CONSPIRACY TO AFFECT COMMERCE BY ROBBERY AND EXTORTION                                                2
18 USC 924(c)(l)(A)(i)                 POSSESSION OF A FIREARM IN FURTHERANCE OF A CRIME OF
                                       VIOLENCE AND A DRUG TRAFFICKING OFFENSE                                                               3
18 USC 922(g)(5)(B) and                NONIMMIGRANT ALIEN IN POSSESSION OF A FIREARM                                                         6
924 (a)(2)




         The defendant is sentenced as provided in pages 2 through    4    of this judgment. The ~ is imposed pursuant
  to the Sentencing Reform Act of 1984.
  D    The defendant has been found not guilty oncount(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  181 Count(s) I of both the underlying Indictment and Superseding Indictment is 0               are 1.81 dismissed on die motion of the United States.
  1.81 Assessment: $300.00 ($100.00 as to each count).


  1.81 Fine waived                                    (gJ Forfeiture pursuant to order filed            February 21. 2012        , included herein.
        IT IS ORDERED that the de:6:ndant shall notifY the United States Attorney for this district within 30 dIys of any change ofname, residence,
  or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid.. If ordered to pay restitution, the
  defendant shall notify the court and United States Attorney of any material change in the defendant's economic cin:umstances.

                                                                                MARCH 26, 2012
                                                                               Date of Imposition of Sentence


                                                                                       lY\u M'l ftA ~ L1--7)0~/ JFF . (,


                                                                                                                                                    lOCR3173-H
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AD 2456 (CASD) (Rev. 12111) Judgment in a Crimina! Case
            Sheet 2 - Imprisonment
                                                                                              Judgment --- Page   2   of    ___
                                                                                                                              4
 DEFENDANT: JOSE EDUARDO DA V ALOS-ABUCHARD (2)
 CASE NUMBER: lOCR3173-H
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         COUNT 2: 3 MONTHS
         COUNT 3: 60 MONTHS TO RUN CONSECUTIVE TO COUNT 2
         COUNT 6: 3 MONTHS TO RUN CONCURRENT WITH COUNT 2

    o Sentence imposed pursuant to Title 8 USC Section I326{b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends placement in tbe Western Region.




     o   The defendant is remanded to the custody of the United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Dam.      Op.m.         on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                   -----------------------------------------------------------------------
          o as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at _______________ • with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL

                                                                      By
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                           lOCR3173-H
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AO 245B (CAS D) (Rev. 12111) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page    ---l- of _ _;;:.4_ __
DEFENDANT: JOSE EDUARDO DA VALOS-ABUCHARD (2)                                                          a
CASE NUMBER: lOCR3173-H
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
COUNT 2: 3 YEARS I COUNT 3: 3 YEARS TO RUN CONCURRENT WITH COUNT 2
COUNT 6: 3 YEARS TO RUN CONCURRENT WITH COUNT 2
         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after Seplember 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
[81    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
181    Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The derendant shall comply with llie requirements of the Sex Offender'Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in acconiance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by tbis eourt. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION

  I)     the defendant shall not leave the judicial district wtdlaut the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation offtcer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcobol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shaH not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confIscation ofany
         contraband observed in plain view ofthe probation officer;
 II)     the defendant shall notify the probation officer within seventy-two ho urs of being arrested or questioned by a law enforcement offICer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without dle
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant' s criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to conrlTlll the
         defendant's compliance with such notification requirement.

                                                                                                                                           10CR3173-H
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        AO 2458 (CASD) (Rev. 12111 Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                          JudpneAt-Page _ _
                                                                                                                          4_ of     _--=4~   __
        DEFENDANT: JOSE EDUARDO DAVA LOS-ABUCHARD (2)                                                II
        CASE NUMBER: IOCR3173-H




                                             SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
181 If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
o Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer-
o Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer. The Court a1.lflaiz£s the release of the presentence
  report and available psychological evaluations to the mental health provider, as approved by the probalioa officer. Allow for reciprocal
    release of information between the probation officer and the treatment provider. May be required to CODIribute to the costs of services
    rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o   Take no medication containing a controlled substance without valid medical prescription, and provide pmofofprescription to the probation
    officer, if directed.
o   Provide complete disclosure of personal and business financial records to the probation officer as requealal.
o probation
  Be prohibited from opening checking accounts or incurring new credit charges or opening additionalliDes ofcredit without approval oflhe
            officer.
o   Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within                days.
o   Complete            hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testiDg_oounseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the bt'illl&i:lllt provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, bad _ the defendant's ability to pay.




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